  Case 6:15-cv-06488-MAT-JWF Document 23 Filed 03/09/16 Page 1 of 2



UNITED STATES DISTRICT COURT
WESTERN DISTRICT OF NEW YORK


MARIETTA SCHEER,

                       Plaintiff,

               -against-                                NOTICE OF SETTLEMENT

COMENITY, LLC d/b/a COMENITY BANK.,                    Case No. 15 CV 6488-MAT-JWF

                       Defendant.



       NOW COMES the Plaintiff, MARIETTA SCHEER, by and through the

undersigned counsel and hereby informs the court that a settlement of the present matter

has been reached and is in the process of finalizing settlement, which Plaintiff anticipates

will be finalized within the next 60 days.

       Plaintiff therefore requests that this honorable Court vacate all dates currently set

on calendar for the present matter.

                                               RESPECTFULLY SUBMITTED,

                                             By:__/s/ Adam T. Hill______
                                               Adam T. Hill, Esq.
                                               Attorney for Plaintiff
                                               Krohn & Moss, Ltd.
                                               10 N. Dearborn, 3rd Floor
                                               Chicago, IL 60602
                                               Phone: (312) 578-9428
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    Case 6:15-cv-06488-MAT-JWF Document 23 Filed 03/09/16 Page 2 of 2



                             CERTIFICATE OF SERVICE

I hereby certify that on March 9, 2016, I electronically filed the foregoing Notice of

Settlement with the Clerk of the Court by using the CM/ECF System. A copy of said

Notice was electronically submitted to all parties by the Court’s CM/ECF system.



                                                             s/ Adam T. Hill
                                                             Adam T. Hill, Esq.
                                                             Attorney for Plaintiff
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